Case 4:24-cv-00033-AMA Document 45 Filed 05/22/25 PageID.1592 Page 1 of 2
     Appellate Case: 25-4066 Document: 1-2 Date Filed: 05/22/2025 Page: 1
                     UNITED STATES COURT OF APPEALS FOR THE TENTH CIRCUIT
                                Byron White United States Courthouse
                                          1823 Stout Street
                                      Denver, Colorado 80257
                                           (303) 844-3157
                                      Clerk@ca10.uscourts.gov
 Christopher M. Wolpert                                                          Jane K. Castro
 Clerk of Court                                                              Chief Deputy Clerk
                                         May 22, 2025


 Mr. Edwin Powell Miller
 950 West University Drive
 #300
 Rochester, MI 48307-0000

 Mr. David W. Scofield
 Peters Scofield
 7430 Creek Road, Suite 303
 Sandy, UT 84093

 RE:        25-4066, Teresa v. Mayo Foundation for Medical Education and Research
            Dist/Ag docket: 4:24-CV-00033-AMA

 Dear Counsel:

 Your appeal has been docketed, and the appeal number is above.

 Within 14 days from the date of this letter, Appellant’s counsel must electronically file:

     •   An entry of appearance and certificate of interested parties per 10th Cir. R.
         46.1(A) and (D).
     •   A docketing statement per 10th Cir. R. 3.4.
     •   A transcript order form or notice that no transcript is necessary per 10th Cir.
         R. 10.2. This form must be filed in both the district court and this court.

 In addition, all counselled entities that are required to file a Federal Rule of Appellate
 Procedure 26.1 disclosure statement must do so within 14 days of the date of this letter.
 All parties must refer to Federal Rule of Appellate Procedure 26.1 and Tenth Circuit Rule
 26.1 for applicable disclosure requirements. All parties required to file a disclosure
 statement must do so even if there is nothing to disclose. Rule 26.1 disclosure statements
 must be promptly updated as necessary to keep them current.

 Also within 14 days, Appellee’s counsel must electronically file an entry of appearance
 and certificate of interested parties. Attorneys that do not enter an appearance within
 the specified time frame will be removed from the service list.
Case 4:24-cv-00033-AMA Document 45 Filed 05/22/25 PageID.1593 Page 2 of 2
     Appellate Case: 25-4066 Document: 1-2 Date Filed: 05/22/2025 Page: 2
 The Federal Rules of Appellate Procedure, the Tenth Circuit Rules, and forms for the
 aforementioned filings are on the court’s website. The Clerk’s Office has also created a
 set of quick reference guides and checklists that highlight procedural requirements for
 appeals filed in this court.

 Please contact this office if you have questions.

                                             Sincerely,



                                             Christopher M. Wolpert
                                             Clerk of Court



 cc:       Maryann Bauhs
           Andrew Brantingham
           Brock Huebner
           Milo Steven Marsden
           Michael Edward Rowe III



 CMW/djd




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